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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

MAMBERTO REAL,

            Plaintiff,

v.                                 Case No:    2:18-cv-331-JES-NPM

MICHAEL PERRY, individual
capacity,

            Defendant.



                            OPINION AND ORDER

      This matter comes before the Court on consideration of the

motion made by Defendant under Rule 50(a) of the Federal Rules of

Civil Procedure for judgment as a matter of law.               Defendant’s

motion was made orally at the conclusion of Plaintiff’s case.

Defendant requested the Court enter judgment as a matter of law

based on his claim for qualified immunity.            The Court took the

motion under advisement and Defendant proceeded to present his

case.   The jury returned a verdict in favor of Defendant, finding

that there had been no constitutional violation.               Defendant’s

motion for judgment as a matter of law is therefore moot.

      Accordingly, it is now

      ORDERED:

      Defendant’s Rule 50 motion is denied as moot.
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      DONE and ORDERED at Fort Myers, Florida, this           3rd    day

of December, 2021.




Copies:
Counsel of Record




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